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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 REPORTERS COMMITTEE
 FOR FREEDOM OF THE PRESS,
                        Plaintiff,
                v.                                         Civil Action No. 17-1701 (RC)
 FEDERAL BUREAU
 OF INVESTIGATION, et al.,
                        Defendants.


                                JOINT STATUS REPORT

       Plaintiff, the Reporters Committee for Freedom of the Press (“RCFP”), and Defendants,

the Federal Bureau of Investigation (“FBI”) and the United States Department of Justice, submit

this joint status report in response to the Court’s minute order dated March 6, 2020.

       1.      On August 21, 2017, Plaintiff filed a complaint alleging that Defendants violated

the Freedom of Information Act (“FOIA”) by not releasing requested records about the FBI’s

impersonation of documentary filmmakers and film crews. ECF 1, ¶ 2. Specifically, RCFP’s

FOIA request sought the following categories of records:

       1. All records that mention ‘Longbow’ or ‘Longbow Productions’ since January 1, 2010,
          including but not limited to email communications, case files, training materials, and
          contracts;
       2. All records, including but not limited to email communications, concerning or
          referencing the impersonation of a documentary filmmaker and/or a documentary film
          crew by the FBI in connection with any criminal investigation related to United States
          v. Burleson, No. 2:16-CR-00046 (PAL) (GMN) (D. Nev.);
       3. The October 2014 video recording of Mr. Burleson made by FBI agents posing as a
          documentary film crew;
       4. All records, including but not limited to email communications, concerning or
          referencing the impersonation of a documentary filmmaker and/or a documentary film
          crew by the FBI in connection with any criminal investigation related to United States
          v. Bundy, No. 2:16-CR-00046 (PAL) (GMN) (D. Nev.);
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       5. The ‘release form’ referenced on Page 2 of the Government’s Motion to Strike in
          United States v. Bundy, No. 2:16-CR-00046 (PAL) (GMN), ECF. No. 926 (D. Nev.
          Nov. 2, 2016);
       6. All records, including but not limited to email communications, concerning or
          referencing any other instances of impersonation of a documentary filmmaker and/or a
          documentary film crew by the FBI in connection with any criminal investigation since
          January 1, 2010;
       7. Records of any 'professional credentials, websites and business cards' used by the FBI
          agents in connection with the impersonation of a documentary filmmaker and/or a
          documentary film crew since January 1, 2010; and
       8. All records of the FBI's policies and practices concerning the impersonation of
          documentary filmmakers and/or documentary film crews since January 1, 2010,
          including records of any changes to those policies and practices.

Compl., ECF 1, ¶ 19.

       2.      The FBI issued a Glomar response with respect to Items 6 and 7, contending that

acknowledging the existence vel non of responsive records would reveal information protected

from disclosure by Exemption 7(E). The parties proposed to file partial summary judgment

motions solely on the propriety of the FBI’s Glomar response, and the Court adopted that proposal.

On March 1, 2019, the Court denied Defendants’ motion for partial summary judgment and

granted Plaintiff’s cross-motion for partial summary judgment as to the propriety of Defendants’

Glomar response. See ECF 29.

       3.      Thereafter, the parties filed joint status reports dated March 18, 2019; April 17,

2019; May 17, 2019; June 17, 2019; July 17, 2019; October 17, 2019; November 26, 2019; and

January 31, 2020 updating the Court on the FBI’s search for records responsive to Items 6 and 7

of Plaintiff’s FOIA request. In the November 26, 2019 status report, Defendants reported that the

FBI had completed its search and “reviewed approximately 125,000 pages of potentially

responsive records for responsiveness,” and would “begin processing records to determine whether

they will be released or withheld as exempt.” ECF 36 at ¶ 4.



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       4.      On January 14, 2020, the FBI provided Plaintiff with its first production of records

and/or portions thereof responsive to Items 6 and 7 of Plaintiff’s FOIA request. Of the 90 pages

reviewed by the FBI in connection with that release, 36 pages were deemed by the FBI to be

“responsive.” Of those 36 pages deemed “responsive” by the FBI, 10 were redacted/withheld in

part citing 5 U.S.C. § 552(b)(6), (b)(7)(C), (b)(7)(D), and (b)(7)(E), and 26 were withheld in their

entirety citing 5 U.S.C. § 552(b)(6), (b)(7)(A), (b)(7)(C), (b)(7)(D), and b(7)(E).

       5.      On February 5, 2020, the Parties appeared for a status hearing and the Court issued

a Minute Order the same day ordering that Defendants should submit to the Court, on or before

February 12, 2020, sufficient information to conclude that the FBI's pace of record processing is

reasonable. The Court ordered the submission to be made in camera, ex parte, and under seal.

       6.      On February 12, 2020, Defendants filed a report in camera, ex parte, and under

seal. ECF No. 39.

       7.      Plaintiff’s Position: The parties appeared for a status hearing on February 5, 2020,

in which Defendants represented to Plaintiff and the Court that the FBI would complete processing

of records responsive to items 6 and 7 of Plaintiff’s FOIA request on or before May 29, 2020. See

also ECF 38 at ¶ 11 (January 31, 2020 joint status report indicating that “[t]he FBI anticipates

completing the processing of this material on or before May 29, 2020.”). During meet and confer

discussions prior to the filing of this joint status report, Plaintiff’s counsel asked counsel for

Defendants for an explanation as to why the FBI is now asserting that it will review and process

records “over the next six months.” See supra at ¶ 12. Plaintiff’s counsel further pointed out that

the FBI’s new “six month” estimate for processing conflicts with the July 31, 2020 date the FBI

continues to propose as a deadline for its summary judgment motion. In response, counsel for




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Defendants stated that “the date change was addressed in the FBI’s in camera filing in February

and we are not authorized to convey that information to Plaintiff.”

       8.      In addition, counsel for Defendants refuses to inform Plaintiff of the date of the

next production of records responsive to Plaintiff’s FOIA request. In response to Plaintiff’s

inquiries, counsel for Defendants stated that she “do[es] not have any additional information that

[she] can share about when the FBI might make an additional production, other than to say that

the FBI continues to process records.”

       9.      Plaintiff strongly objects to Defendants’ continued efforts to keep Plaintiff in the

dark regarding the FBI’s proposed processing schedule. As Plaintiff’s counsel represented to this

Court during the February 5, 2020 status hearing, Defendants’ ongoing efforts will place Plaintiff

at a significant disadvantage for purposes of summary judgment briefing. Indeed, Defendants’

new, unilateral altering of the FBI’s processing schedule only underscores these concerns.

       10.     Plaintiff also strongly disagrees with Defendants’ refusal to engage in any

discussions, whatsoever, vis-à-vis a reasonable schedule for a rolling production of records

responsive to Plaintiff’s FOIA request. The above-captioned matter has been pending since

August 2017, and this Court denied Defendants’ motion for partial summary judgment as to the

propriety of Defendants’ Glomar response more than a year ago. ECF 29. Since that ruling, the

FBI has made a single, 10-page production of records; that production was made more than two

months ago.     Plaintiff now understands from Defendants’ counsel that the FBI’s Records

Management Division (“RMD”) is closed through March 30, 2020 due to concerns related to the

ongoing coronavirus outbreak. Plaintiff respectfully requests that the Court order the parties to

meet and confer to discuss a reasonable schedule for the production of responsive records in this




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matter that accounts for any delay due to the closure of RMD through March 30, 2020, and to

propose such a schedule to the Court on or before April 15, 2020.

       11.     Defendants’ Position: The FBI has completed its search with respect to Items 6

and 7 and has reviewed approximately 125,000 pages of potentially responsive records for

responsiveness. The FBI has begun processing the records from this pool that were found to be

responsive to determine whether they will be released or withheld as exempt.

       12.     The FBI reviewed the initial subset of 90 pages and released the non-exempt

material to Plaintiff on January 14, 2020. The remainder of the material, which is equal to or greater

than one document, will be reviewed and processed over the next six months in accordance with

briefing requirements. The FBI anticipates completing the processing of this material and filing a

motion for summary judgment on or before July 31, 2020.

       13.     The undersigned Assistant United States Attorney understands from the FBI that,

as if the date of this filing, the agency’s Records Management Division (“RMD”) is closed at least

until March 30, 2020 because of the current coronavirus outbreak. At this time, the FBI is not able

to predict whether the RMD closure will affect its anticipated date of completion for processing

the aforementioned records.

       14.     As discussed in prior JSRs, Defendant disagrees with Plaintiff’s position that the

Court’s prior order requires it to reveal sensitive information about the volume of responsive

records regarding an undercover law enforcement technique. With its motion for summary

judgment, the FBI intends to provide the Court in camera with all the information necessary to

sustain its withholdings of exempt material. See ECF No. 38 at ¶ 12.

       15.     The parties propose to file another joint status report updating the Court on the

status of the FBI’s processing of RCFP’s request on or before May 19, 2020.



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Respectfully submitted,                      TIMOTHY J. SHEA, D.C. Bar No. 437437
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Dated: March 17, 2020




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